Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 1 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 2 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 3 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 4 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 5 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 6 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 7 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 8 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                      Document (redacted) Page 9 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                     Document (redacted) Page 10 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                     Document (redacted) Page 11 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                     Document (redacted) Page 12 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                     Document (redacted) Page 13 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                     Document (redacted) Page 14 of 15
Case 10-42554   Doc 11-1 Filed 06/24/10 Entered 06/24/10 09:38:35   Desc Main
                     Document (redacted) Page 15 of 15
